Case 1:18-mc-00167-AB.] Document 43 Filed 02/22/19 Page 1 of 25

UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

 

 

 

)

UNITED STATES OF AMERICA, )
)

v. )
F I L E D

)

PAUL J. MANAFORT, JR., ) FEB 2 2 2019
)

Defendant. ) Clerk, U.Sl District & Bankruptcy

) Courts for the District of Co|umbia
)

IN RE: PETITIONS FOR RELIEF )

CONCERNING CONSENT ORDER OF ) Case No. 1:18-mc-00167-ABJ

FORFEITURE )
)
)

UBS BANK USA, )
)

Petitioner. )

)

 

STIPULATION AND ORDER OF SETTLEMENT
REGARDING PETITION OF UBS BANK USA
AND 721 FIFTH AV'ENUE, #43G, NEW YORK, NY 10022

IT IS HEREBY STIPULATED and AGREED by and between United States of Arnerica, by
and through its undersigned counsel, and Petitioner UBS Bank USA (“UBS Bank”), pursuant to 21

U.S.C. § 853(i)(2) and (n), to compromise and settle its interest in the following property:

The real property and premises commonly known as 721 Fifth Avenue, #43 G, New
York, NY 10022,

described more fully in the deed for which is attached hereto as Exhibit A and incorporated by
reference herein (the “Fifth Avenue Property”).

This settlement is entered into between the parties pursuant to the following terms:

l. The parties to this Stipulation and Order stipulate that UBS Bank has a prior vested or
superior interest in the Fifth Avenue Property or was a bona fide purchaser for value of the right,
title, or interest in the Fifth Avenue Property, and was at the time of purchase reasonably without

cause to believe that the Fifth Avenue Property was subject to forfeiture

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2. On the terms set forth herein, UBS Banl< hereby settles the claims asserted in its
petition filed on November 2, 2018, in United States v. Paul J. Manafort, Jr. et al., l:l7-cr-2()l-ABJ
(D.D.C.) and docketed at Docket No. 4 under the instant case number (the “Petition”) asserting an
interest in the Fifth Avenue Property. Effective upon the Court’S endorsement of this Stipulation
and Order and the entry of a Final Order of Forfeiture incorporating this Stipulation and Order
therein, said petition is hereby deemed dismissed with prejudice, without costs and/or attorney’s fees
to either party.

3. The United States agrees that upon its sale of the Fifth Avenue Property pursuant to
the Court’s entry of an interlocutory order authorizing sale of the Fifth Avenue Property or a final
order of forfeiture forfeiting the Fifth Avenue Property to the United States, the United States will
not contest payment to UBS Banl< from the proceeds of sale, after payment of: any outstanding
taxes, valid superior liens, and condominium association charges or assessments incurred on or after
October 22, 20l8, real estate commissions, insurance costs, escrow fees, document recording fees
not paid by the buyer, title fees, county/city transfer fees, and other reasonable expenses incurred by
the United States Marshals Service in connection with its custody, management, maintenance, repair
and sale of the Fifth Avenue Property, the following (to the extent the sale produces sufficient funds
after the payments noted above):

(a) All unpaid principal due to UBS as of October 22, 2018, pursuant to the
mortgage instrument dated April 7, 2015, and recorded in the Office of the
City Register of the City of New York on or about April 30, 2015 under City
Register File Number (“CRFN”) 2015000145747 (the “Mortgage”), which
was also filed in this action at Docket No. 4~l. The Mortgage secures funds
issued pursuant to an adjustable rate note, dated April 7, 2015, in the original
amount of $3,000,600.00, with an initial interest rate of 2.055% per year on
the unpaid principal of the loan (the “Note”) which was filed in this action at
Docket No. 4-2.

(b) With respect to paragraph 3(a) above, all unpaid interest at the base

contractual rate (not the default rate) under the above Mortgage from October
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22, 2018 until the date of payment The payment to UBS Bank of the amounts
specified in paragraph 3 shall be in full settlement and satisfaction of all
claims by UBS Bank against the United States and the Fifth Avenue Property
arising from and relating to the seizure, detention, and forfeiture of the Fifth
Avenue Property by the United States, but shall not impair or limit any
available rights and remedies against the obligor(s) of the Note.

4. Upon payment as specified in paragraph 3, UBS Bank agrees to provide a release of
its security interest in the Fifth Avenue Property via recordable documents and to release and hold
harmless the United States, and any agents, servants, and employees of the United States (and any
involved state or local law enforcement agencies and their agents, servants, or employees), in their
individual or official capacities, from any and all claims by UBS Bank and its agents that currently
exist or that may arise as a result of the United States’ actions against and relating to the Fifth
Avenue Property.

5 . UBS Bank agrees not to pursue against the United States or its successors or assigns
any other rights to affect an interest in the Fifth Avenue Property under the Mortgage, including but
not limited to the right to foreclose upon and sell the Fifth Avenue Property and any right to assess
additional interest or penalties, but without limiting any rights of UBS Bank available under the Note
against the obligor(s) of the Note.

6. UBS Bank agrees to notify the Special Counsel’s Office and the Money Laundering
and Asset Recovery Section (MLARS) of the U.S. Department of Justice promptly if it learns of any
condition that might affect the sale of the Fifth Avenue Property or that might make an interlocutory
sale appropriate UBS Bank further agrees to join in any motion by the United States to effect the
sale of the Fifth Avenue Property, including motions to remove occupants who fail to abide by the
terms of an occupancy agreement UBS Bank shall endorse such United States motions within ten
days of receipt of the motion.

7. UBS Bank understands and agrees that this Stipulation and Order constitutes a full
and final settlement of its petition and that it waives any rights to litigate further its interest in the

Fifth Avenue Property and further pursue remission or mitigation of the forfeiture, but without
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limiting any rights of UBS Bank available under the Note against the obligor(s) of the Note. If this
Stipulation is approved by the Court, then unless specifically directed by an order of the Court, UBS
Bank shall be excused and relieved from further participation in this action. However, this
Stipulation and Order does not relieve UBS Bank of any applicable discovery obligations

8. UBS Bank understands and agrees that the Special Counsel’s Office and MLARS
also reserve the right to void this Stipulation and Order if, before payment of the sums set forth in
paragraph 3 above, the Special Counsel’s Office and/or MLARS obtains new information indicating
that UBS Bank did not have a prior vested or superior interest in the Fifth Avenue Property, pursuant
to 21 U.S.C. § 853(n)(6)(A), or that it was not a bona fide purchaser for value of the right, title, or
interest in the Fifth Avenue Property or, at the time of the purchase, was not reasonably without
cause to believe that the Fifth Avenue Property was subject to forfeiture, pursuant to 21 U.S.C.
§ 853(n)(6)(B). The Special Counsel’s Office and MLARS also reserve the right, in their discretion,
to terminate the forfeiture at any time and release the Fifth Avenue Property or initiate civil
forfeiture proceedings as provided in paragraph 15. ln either event, the United States shall promptly
notify UBS Bank of such action.

9. A discretionary voidance of this Stipulation or a termination of forfeiture by the
United States or the executing and delivery of a Quit-Claim deed from the United States to UBS
Bank shall not be a basis for any award of fees but shall result in a reinstatement of all claims of
UBS Bank for payment in relation to the Fifth Avenue Property that are otherwise waived by the
terms of this Stipulation and Order, including, without limitation, any rights or remedies available to
UBS Bank pursuant to the Mortgage and-Note and applicable law.

l(). The United States agrees that it will not sell the Fifth Avenue Property on terms that
would result in a payment to UBS Bank of less than the amount provided for in paragraph 3(a)-(b),
or other lower amount for which UBS Bank provides written consent (the lower of which shall be
the “Reserve Amount”), subject to the following terms:

(a) Should the United States be unable to enter a contract to sell the Fifth Avenue
Property for a price equal to or greater than the Reserve Amount within 9

months (or such additional period as the parties may mutually agree) of the
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later of the Court’s entry of an interlocutory order authorizing sale of the Fifth
Avenue Property or a final order of forfeiture of the Fifth Avenue Property,
the United States will, at its option:
i. move to vacate the preliminary or final forfeiture order with respect to
the Fifth Avenue Property only, or
ii. execute and deliver to UBS Bank, and UBS Bank shall accept, a Quit-
Claim Deed with respect to the United States’ interest in the Fifth
Avenue Property, subject to any valid, superior liens against the Fifth
Avenue Property including valid, superior liens (if any) resulting from
a compromise of claims arising under 2l U.S.C. § 853 that have been
endorsed by the Court in the above-captioned case. The United States
understands that should the conditions in paragraph lO(a) be tri ggered,
UBS prefers that the United States proceed with the option described
in paragraph lO(a)(ii) instead of that in paragraph lO(a)(i).

(b) ln the event that the preliminary or final forfeiture order is vacated with
respect to the Fifth Avenue Property or the United States executes the Quit-
Claim Deed in favor of UBS Bank as provided for in this paragraph, UBS
Bank shall reimburse the United States for its reasonable advances, fees, and
expenses actually incurred in the course of the United States’ custody,
management, maintenance, repair and efforts to sell the Fifth Avenue
Property, including but not limited to taxes and associated interest and
penalties, and condominium fees and assessments, (collectively “USMS
Expenses”) within`thirty days of such order vacating the forfeiture of the Fifth
Avenue Property or the United States’ execution and delivery of a Quit-Claim
Deed to UBS Bank.

(c) Upon UBS Bank’s~ subsequent sale of the Fifth Avenue Property, UBS Bank

agrees to provide:

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i. a copy ofthe Closing Disclosure constituting the final settlement
statement from closing to the United States,

ii. a notice to the United States and USMS of the existence of any
Surplus Proceeds, herein defined as all proceeds remaining after
payment of: USMS Expenses; payment of UBS Bank’s actual
expenses of sale (including sums previously paid to the United States
pursuant to paragraph lO(b)); satisfaction of all valid liens and claims
of record which may have priority over the United States; payment of
any transfer taxes, recording costs, or other reasonable expenses
actually ineurred in connection with the receipt of any Quit-Claim
Deed delivered to UBS Bank under paragraph l()(a)(ii); and payment
of all sums due under the Mortgage to UBS Bank.

(d) UBS Bank agrees thereafter to pay to the United States, within thirty days of
such sale, any such Surplus Proceeds toward satisfaction of any forfeiture
judgment entered in this action or for forfeiture in any related civil forfeiture
action.

(e) The vacating of the preliminary or final order of forfeiture with respect to the
Fifth Avenue Property or the United States execution of a Quit-Claim Deed as
provided herein shall not be the basis for any award of attomeys’ fees against
the United States, and shall be in full satisfaction of and shall fully release any
claim UBS Bank may have against the United States and any agents, servants,
and employees of the United States (and any involved state or local law
enforcement agencies and their agents, servants, or employees), in their
individual or official capacities, including but not limited to as set forth in
paragraphs 4, 5, 6,‘8, 9, and 13 of this Stipulation and Order of Settlement.

ll. The parties agree to execute further documents, to the extent necessary, to allow the
United States to sell the Fifth Avenue Property with clear title and to otherwise further implement

the terms of this Stipulation and Order.

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12. Each party agrees to bear its own costs and attorneys’ fees.

13. Payment to UBS Bank pursuant to this Stipulation and Order is contingent upon a
Court-authorized interlocutory sale of the Fifth Avenue Property or the United States’ prevailing
against the defendant and any third-party claims in an ancillary proceeding, the Court’s entry of a
final order of forfeiture to the United States, and sale of the Fifth Avenue Property pursuant to the
final order of forfeiture The terms of this Stipulation and Order shall be subject to approval by the
United States District Court and any violation of any terms or conditions shall be construed as a
violation of an order of the Court.

14. ln the event that the United States shall not prevail over third party claims, the Court
does not enter a final judgment of forfeiture or interlocutory order for the sale of the Fifth Avenue
Property, or if the terms hereof are not approved by the Court, all claims of UBS Bank for payment
in relation to the Fifth Avenue Property that are otherwise waived by the terms of this Stipulation
and Order shall be reinstated

15. The parties agree that the United States may choose in its sole discretion whether to
accomplish forfeiture of the Fifth Avenue Property by criminal or civil forfeiture. If the United
States chooses to effect the forfeiture through institution of civil forfeiture proceedings, UBS Bank
consents to the filing of this Stipulation and Order in such civil forfeiture proceedings to provide for
full settlement and satisfaction of all claims to and any right, title and interest it may have in the
Fifth Avenue Property upon the same terms as set forth herein. If the parties file this Stipulation and
Order in settlement of UBS Bank’s claims in a civil forfeiture proceeding as provided in this
paragraph l5, UBS Bank waives all defenses, including, but not limited to, defenses based upon
statute of limitations and venue, and any claim to attomeys’ fees or costs, with respect to any such
civil forfeiture proceeding related to the Fifth Avenue Property, except to the extent such a defense
would be available in the present proceeding pursuant to this Stipulation and Order.

l6. This Stipulation and Order may be executed in counterparts, each of which shall be
deemed an original, and all of which, when taken together, shall be deemed the complete Stipulation

and Order.

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l7. The individual(s) signing this Stipulation and Order on behalf of UBS Bank represent
and warrant that they are authorized by UBS Bank to execute this Stipulation and Order. The
undersigned United States signatory represents that he is signing this Stipulation and Order in his
official capacity and that he is authorized to execute this Stipulation and Order.

18. Neither execution by the parties nor entry by the Court of this Stipulation and Order
shall affect the right of either party to seek recovery, relief or enforcement of rights against persons
or entities who are not party to this agreement, including Paul J. Manafort, Jr. and other third parties.
Nor shall execution by the parties or entry by the Court of this Stipulation limit any rights of UBS
Bank available under the Note against the obligor(s) of the Note.

19. Entry of this Stipulation and Order shall not be construed to create any right or
benefit in favor of any third party, other than those rights and benefits to the United States that may
be conveyed to its successors or assigns, as are expressly set forth herein.

20. The Court shall have continuing and exclusive jurisdiction over the interpretation and
enforcement of this Stipulation and Order.

21. This Stipulation and Order constitutes the complete agreement between the parties

hereto and may not be amended except by written consent thereof.

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F or the United States of America:

Dated: 2//¢///»20([(

6 By:

By

ROBERT S. MUELLER, 111
Special Counsel

 

Andrew Weissmann

Greg D. Andres

U.S. Department of Justice
Special Counsel’s Office

950 Pennsylvania Avenue NW
Washington, D. C 20530

ne §202) 616 0800
/ " 762/56

 

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Daniel H. Claman \

Money Laundering and
Asset Recovery Section
Criminal Division
U.S. Department of Justice
1400 New York Avenue, N.W., Suite 10100
Washington, D.C. 20530
Telephone: (202) 514-1263

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Casé 1:18-mc-00167-AB.] Document 43 Filed O2/22/19' Page 10 of 25

For UBS Bank USA: GIBSON, DUNN & CRUTCHER LLP
Attorneys for UBS Bank USA

Dated: February 14, 2019 By: W g 12 L'

Step ie L. Brooker, Esq.

(D.C. Bar No. 475321)

David A. Schnitzer, Esq.

(D.C. Bar No. 1022420)

GIBSON, DUNN & CRUTCHER LLP
1050 Connecticut Avenue, N.W.
Washington, DC 20036

(202) 955-8500

Dated: February 14, 2019 By: QV/g

Frank Desna

Managing Director & Senio'r

Vice Chairman, CEO and President
UBS Bank USA

Dated: By: _

 

Shashank Gupta
Managing Director & Head of Mortgage
UBS Bank USA

Case 1:18-mc-00167-AB.] Document 43 Filed 02/22/19 Page 11 of 25

For UBS Bank USA: GIBSON, DUNN & CRUTCHER LLP
d Attomeys for UBS Bank USA

Dated: By:

Stephanie L. Brooker, Esq.
(D.C. Bar No. 475321)

- David A. Schnitzer, Esq.
(D.C. Bar No. 1022420)
GIBSON, DUNN & CRUTCHER LLP
l050 Connecticut Avenue, N.W.
Washington, DC 20036
(202) 955-8500

Dated: By:

 

Frank Destra

6 Managing Director & Senior
Vice Chairman, CEO and President
UBS Bank USA

Dated: February 14, 2019 By: ` M

Shasf’fank Gupta
Managing Director & Head of Mortgage

UBS Bank USA

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ORDER

Having reviewed the foregoing Stipulation and good cause appearing,
IT IS HEREBY ORDERED, ADJUDGED, AND DECREED that the Stipulation is SO

ORDERED.

S`\.,
oRDERED this 021 day of'§\ovd 0 19.

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THE HON(§RABLE Al\/IY B. JACKSON
UNITED STATES DISTRICT JUDGE

 

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ATTACHMENT A

Deed for
721 Fifth Avenue, #43G, New York, New York 10022
(Block 1292, Lot 1112)

New York City Department of Finance, Office of the City Register
Document ID No. 2015022400401003

» ~»»»~ .,.

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OFFICE OF THE CITY REGISTER

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Register will rely on the information provided
by you on this page for purposes of indexing
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will control for indexing purposes in the event

NYC DEPARTMENT OF FINANCE .

 

 

 

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RECORDING AND ENDORSEMENT COVER PAGE PAGE 1 OF 6
Document lD: 20150224()0401003 Document Date: 01_27-2015 Preparation Date: 02-24-2015

Document Type: DEED
Document Page Count: 4

 

 

 

PRESENTER: RETURN TO:

FIRST NATIONWIDE TITLE AGENCY LLC FIRST NATIONWlDE TITLE AGENCY LLC

HOLD FOR DENNISE A. TO PICK UP SR-5068 ' HOLD FOR DENNISE A. TO PICK UP SR-5068

50 CHARLES LlNDBERGH BLVD ~ SUITE 200 50 CHARLES LlNDBERGH BLVD - SUITE 200

UNIONDALE, NY 11553 UNIONDALE, NY 11553

212-499-0100 212-499-0100

RECORDING@FIRSTNATIONWIDETITLE.COM RECORDING@FIRSTNATIONWIDETITLE.COM
P-ROPERTY DATA

Borough Block Lot Unit Address

MANHATTAN 1292 1112 Entire Lot 43G 721 5 AVENUE
Property Type: SlNGLE RESIDENTlAL CONDO UNIT

 

CROSS REFERENCE DATA

 

 

CRFN vr DocumentID or Year Reel Page vr File Number
PARTIES
GRANTOR/SELLER: . GRANTEE/BUYER:
JOHN HANNAH, LLC PAUL MANAFORT
721 FIFTH AVENUE, UNIT 43G 721 FIFTH AVENUE, UNIT 43G
NEW YORK, NY 10022 NEW YORK, NY 10022

Additional Parties Listed on Continuation Page

 

~FEES AND TAXES

 

 

 

 

 

 

 

 

   

 

 

 

 

 

Mortgage : Filing Fee:
Mortgage Amount: $ 0.00 $ 125.00
Taxable Mortgage Amount: $ 0.00 NYC Real Property Transfer 'l`ax:
Exernption: $ 0.00
TAXES: County (Basic): $ 0.00 NYS Real Estate Transfer Tax:
City (Additional): $ 0.00 $ 0.00
Spec (Additional): $ 0.00 RECoRDED oR FlLED lN THE oFFlcE
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Recording Fee: $ 57.00 ,
Affidavit Fee: $ 0.00

 

 

City Register Ufficial Signature

 

 

 

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NYC DEPARTMENT OF FINANCE n
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PARHES "
GRANTEE/BUYER:
KATHLEEN MANAFORT

721 FIF'I`H AVENUE, UNIT 43G
NEW YORK, NY 10022

 

 

 

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ms lNOENTURE. made the day ot January , 2015
BETWEEN
Jchr\ Hath, LLC

721 Fifth Ave.. Unlt MEG
New York. N¥ 10022

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Paui and Katnteen Manstert. hishand and wife in tenancy lnthe entirety

721 Fli\h Ave.. Unit #43G
New Yofit. NY 10022

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incorporated herewith by reference

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Lot 1112
Courtty. New York

TOGETHER with aii right, title and interest li eny. oi the party of the first part in and to any streets and roads
abutting the above described premises to the center lines mareoi; TOGETHER with the appurtenances and eli
the estate and rights oi the party oi the first part in and to said premises; TO HAVE AND TO HOLD the
premises herein granted unto the party oi the second part. the heirs or successors and assigns oi the party ot
the second part forevet.

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whereby the said premises have been encumbered in any way whatever. except as aioresaid.

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iN WITNESS WMEREOF. the party of the first pan has duly exemtad this deed the day and year hrst above
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LDT: 1111

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NYC DEPARTMENT oF FINANCE ' `
OFFICE OF THE CITY REG[STER l |H
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SUPPORTING I_)OCUMENT COVER PAGE PAGE l OF l
Document lD: 2015022400401003 Document Date: 01-27-2015 Preparation Date: 02-24-2015

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ASSOC!ATED TAX FORM ID: 20l5020500190 '

 

SUPPORTING DOCUMENTS SUBMITTED:

Page Count
DEP CUSTOMER REGISTRATION FORM FOR WATER AND SEWER BILLING l
RP - 5217 REAL PROPERTY TRANSFER RERORT 3

SMOKE DETECTOR AFFlDAVlT ‘ l

 

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REAL FROPERTYTRANSFER REPQRT

STATE 0F NEWVORK
STATE BOARD OF REAL FROPERTY SERVlCES

RP - 5217NYC

 

 

 

  

 

 

 

 

 

 

 

 

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Case 1:18-mc-00167-AB.] Document 43 Filed 02/22/19 Page 23 of 25

Form RP-5217 NYC

CERTIF|CAT|ON

ATTACHMENT

l certify that ali of the items of information entered on this form are true and correct (to the best of my knowledge and belief) and understand that the making
of any willful false statement of material fact herein will subject me to tha provisions of the penal law relative to the making and filing of false instruments

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

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Aflidav|t oi Comoliance with Smoire Dstector Regulremant for On'a and-Two Famlly Dwel||ngs
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AFFIDAVIT OF COMP£IANCE
WITH SMOKE DEI`ECTOR REQUIREMENT
FOR ONE- AND WO-FML¥ DWELLINGS

_Il'weT
State of New ¥orie )
) SS.:
County of MF££J 5 )

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The undersigned, being duly swom, depose and_say under penalty of perjury that they are the grantor and grantee of
the real property or of the cooperative shares in a cooperative corporation owning real property located at

 

 

 

721 5 AVENUE 1 43G
Streel Address 11 UnltlApl.
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MA.NHATTAN N¢w’Yo['k, » 1292 l 1 12 (the nPremisesn);
Borough l 3 Block Lot

That the Premises is a one or two family dwelling, ‘or a cooperative apartment or condominium unit in a one- or
two-family dwelling, and that installed in the Premises is an approved and operational smoke detecting device in
compliance with the provisions of Article 6 of Subchapter 17 of Chapter l of Title 27 of the Administrative Code of
the City of New York concerning smoke detecting devices;

That they make afiidavit 1n compliance with New York City Administrative Code Section 11-2105 (g). (The
signatures of at least one grantor and one grantee a|r;e required, and must be notarized).

/‘Zap /¢{AA/AM,'T

Name of Grantee (ryp¢ or minn

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Name of Grantor (type or Prlm)

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a crime of perjury under Article 210 of the Pena`l Law. ;E`

NEW Y._(_)RK CITY REAL PROPERTY TRANSFER TAX RETURNS FlLED ON OR AFTER `~Fw l . "
Gth, 1990, WITH RESPECT TO THE CONVEYANCE OF A ONE- OR 'I'WO-FAMILY DWELLIR'G', `(ilil _’;.A
COOPERATIVE APARTMENT OR A CONDOMINIUM UNIT lN A ONE- OR TWO-FAMILY DWELLIN'®}Y»..
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,,.-~.` The City of New York
4/, Q\ Department of Environmental Protectioo
{ l .~ \ Bureau of Customer Services
\ ~ ,/ ) 59-17 Junction Boulevardi
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t

 

Customer Registration Form for Water and Sewer Billing

Property and Owner lnforrnation:
(1) Property receiving service: BOROUGH: MANHATTAN BLOCK: 1292 LOT: 1112
(2) Property Adaress: 721 sAvENuE unit 436, NEW YoRi<, Nv10022

(3) Owner's Name: MANAFORT,PAUL
Addltlonal Name: MANAFORT , KATHLEE_N y

 

 

Afflrmation: l

./ Your water & sewer bills will be sent to the property address shown above.

 

 

 

 

 

Customer Billing lnformation:
P|ease Note:

A. Water and sewer charges are the legal responsibility of the owner of a property receiving water and/or
sewer service. The owners responsibility to pay such charges is not affected by any |ease. license or
other arrangement or any assignment of responsibility for payment of such charges. Water and sewer
charges constitute a lien on the property until paid. in addition to legal action against the owner. a failure
to pay such charges when due may result in foreclosure of the lien by the City of New York, the property
being placed in a lien sale by the City or Service Terrninatlon. `

B. On'ginal bills for water and/or sewer service will be mailed to the owner, at the property address or to
an alternate mailing address. DEP will provide a duplicate copy of bills to one other party (such as a
managing agent), howeverl any failure or delay by DEP in providing duplicate copies of bills shall in no
way relieve the owner from his/her liability to pay all outstanding water and sewer chargesl Contact DEP
atf(718) 595-7000 during business hours or visit www.nyc.gov/dep to provide us with the other party's
in ormation. 1

 

Owner's Approval:

The undersigned certifies that he/sheht is the owner of the property reoeivln service referenced above; that he/shefit
_has read_ and understands Paragraphs A 81 B under the section captioned “ ustomer Billing lnformatlon"; and that the
information supplied by the undersigned on this form is true and complete to the best of his/her/its knowledge

   

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